991 F.2d 787
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnny Robert BAKER, Petitioner-Appellant,v.Martin MCDADE, Superintendent;  Attorney General of NorthCarolina, Respondents-Appellees.
    No. 92-6885.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 4, 1992Decided:  April 19, 1993
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-91-511-HC-BO)
      Johnny Robert Baker, Appellant Pro Se.
      Clarence Joe DelForge, III, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, HALL, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Johnny Robert Baker appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Baker v. McDade, No. CA-91-511-HC-BO (E.D.N.C. July 14, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    